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14

15                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA
16                                       SAN FRANCISCO DIVISION

17   In re: CATHODE RAY TUBE (CRT) ANTITRUST                    Case No. 07-cv-05944 (SC)
     LITIGATION
18                                                              MDL No. 1917
19   This Document Relates To:                                  DECLARATION OF GARY R.
20                                                              CARNEY IN SUPPORT OF
     ALL INDIRECT PURCHASER ACTIONS                             PLAINTIFFS’ ADMINISTRATIVE
21                                                              MOTION TO FILE DOCUMENTS
     Electrograph Systems, Inc. et al. v. Hitachi, Ltd.,        UNDER SEAL PURSUANT TO
     et al., No. 11-cv-01656;                                   CIVIL LOCAL RULES 7-11, 79-5(b),
22
                                                                AND 79-5(e)
     Siegel v. Hitachi, Ltd., et al., No. 11-cv-05502;
23
     Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al., No.
24   11-cv-05513;
25   Target Corp., et al. v. Chunghwa Picture Tubes,
     Ltd., et al., No. 11-cv-05514;
26
     Sears, Roebuck and Co., et al. v. Chunghwa
27   Picture Tubes, Ltd., et al., No. 11-cv-05514-SC;
28

     DECLARATION OF GARY R. CARNEY IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
                                         CASE NO. 07-5944-SC; MDL NO. 1917
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 1   Interbond Corporation of America v. Hitachi, et
     al., No. 11-cv-06276;
 2
     Office Depot, Inc. v. Hitachi, Ltd., et al.,
 3   No. 11-cv-06276;
 4   Sharp Elecs. Corp. v. Hitachi, Ltd.,
     No. 13-cv-01173;
 5
     CompuCom Systems, Inc. v. Hitachi, Ltd. et al., No.
 6   11-cv-06396;
 7   Costco Wholesale Corp. v. Hitachi, Ltd., et al., No.
     11-cv-06397;
 8
     P.C. Richard & Son Long Island Corp., et al. v.
 9   Hitachi, Ltd., et al., No. 12-cv-02648;
10   Schultze Agency Services, LLC v. Hitachi, Ltd., et
     al., No. 12-cv-02649;
11
     Tech Data Corp., et al. v. Hitachi, Ltd., et al., No.
12   13-cv-00157;
13   ViewSonic Corp. v. Chunghwa Picture Tubes, Ltd.,
     et al., No. 3:14-cv-02510
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     DECLARATION OF GARY R. CARNEY IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
                                         CASE NO. 07-5944-SC; MDL NO. 1917
            Case 4:07-cv-05944-JST Document 3282-1 Filed 12/23/14 Page 3 of 4




 1   I, Gary R. Carney, hereby declare as follows:

 2          1. I am a Counsel with the law firm of Paul, Weiss, Rifkind, Wharton & Garrison LLP, counsel

 3   for Plaintiffs Sharp Electronics Corporation and Sharp Electronics Manufacturing Company of America,

 4   Inc. I am a member of the bar of the State of New York and I am admitted to practice before this Court

 5   pro hac vice.

 6          2. I submit this Declaration in support of the Direct Action Plaintiffs and Indirect Purchaser

 7   Plaintiffs’ (“Plaintiffs”) Administrative Motion to File Documents Related to Plaintiffs’ Opposition to

 8 the Toshiba Defendants’ Motion for Summary Judgment Concerning Withdrawal Under Seal. I have

 9 personal knowledge of the matters set forth herein and, if called as a witness, I could and would testify

10   competently to them.

11          3. The following exhibits and portions of Plaintiffs’ Withdrawal MSJ Opposition contain,

12   discuss, analyze, or directly reference information designated by other parties as “Confidential” or

13   “Highly Confidential” pursuant to the Protective Order entered in the above-captioned case:

14
                            DOCUMENT                         PAGE:LINE REF. OR EXHIBIT NOS.
15
            Plaintiffs’ Withdrawal MSJ Opposition         2:7-11 and 17-23
16                                                        3:1-2
                                                          4:6-8 and 11-25
17                                                        5:1-17
                                                          5:19 – 6:6
18                                                        6:8-18 and 21-28
                                                          7:8-23 and 27-28
19                                                        8:2-28
                                                          9:3-6 and 9-24
20                                                        10:1 – 11:17
                                                          11:21-23 and 25-28
21                                                        12:1-4
                                                          15:20-22
22                                                        16:1-3 and 20-27
                                                          17:12-22
23                                                        18:16-19
                                                          21:9-18
24
            Declaration of Gary R. Carney in Support      Exhibits 1-34 and 36-48
25          of Plaintiffs’ Withdrawal MSJ Opposition

26

27          4. All of the information subject to this administrative motion to file under seal has been

28   designated “Confidential” or “Highly Confidential” by defendants Chunghwa Picture Tubes, Ltd.;
                                                      -1-
     DECLARATION OF GARY R. CARNEY IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
                                         CASE NO. 07-5944-SC; MDL NO. 1917
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 1   Koninklijke Philips N.V.; MT Picture Display Co., Ltd.; Panasonic Corporation; Samsung SDI;

 2   Thomson SA; Toshiba America Electronic Components, Inc., or Toshiba Corporation under the

 3   Stipulated Protective Order entered in this case. Plaintiffs seek to submit the above material under seal

 4   in good faith in order to comply with the Protective Order and this Court’s Local Rules.

 5          5. Pursuant to the Local Rules (revised November 1, 2014), the party or parties designating the

 6   materials referenced above “must file a declaration as required by subsection 79-5(d)(1)(A) establishing

 7   that all of the designated material is sealable.” Civ. L.R. 79-5(e)(1). Plaintiffs are prepared to file the

 8   documents referenced above that have been designated “Confidential” or “Highly Confidential” by the

 9   Designating Parties in the public record “[i]f the Designating Party does not file a responsive declaration

10   as required by subsection 79-5(e)(1) and the Administrative Motion to File Under Seal is denied.” Civ.

11   L.R. 79-5(e)(2).

12          I declare under penalty of perjury under the laws of the United States of America that the

13   foregoing is true and correct.

14

15          Executed this 23rd day of December, 2014, in New York, New York.

16
                                                                    /s/ Gary R. Carney
17                                                                      Gary R. Carney
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     DECLARATION OF GARY R. CARNEY IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
                                         CASE NO. 07-5944-SC; MDL NO. 1917
